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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                             :
In Re Application of Melanie Anne            :    Misc. Action No. 20-21 (RC)
Chen Pursuant to Title 28, United            :
Code Section, Section 1782                   :
                                             :

                                      MOTION TO DISMISS

        Now into court, through undersigned counsel, comes Melanie Anne Chen (hereinafter

“Ms. Chen” or “Applicant”) and files this Motion to Dismiss. On March 19, 2020 Applicant,

pursuant to Title 28, United States Code, Section 1782 filed an Ex Parte Application asking this

Honorable Court to issue an Order permitting Ms. Chen to collect evidence for potential use

before a foreign tribunal in the United Kingdom (U.K.). On May 1, 2020 this Court entered an

Order granting the Application and appointed undersigned counsel as Commissioner. Doc. No. 6.

Between May 1, and June 23 Applicant engaged in discovery of evidence located in this District.

On June 23, 2020 the U.K. proceedings were stayed as the parties in those proceedings had

entered into a conditional settlement agreement

        On July 24, 2020 the U.K. Court issued an order releasing a world-wide restraining order

against Ms. Chen’s assets and disposing of the U.K. litigation between Applicant and others. See

Exhibit 1. Counsel for Applicant recently a copy of that Order and files this Motion to Dismiss.

Considering the dismissal of the U.K. litigation Applicant no longer requires additional evidence

located within this District for use in the U.K. proceedings. Therefore, Applicant seeks a

dismissal of this Title 28, United States Code, Section 1782 miscellaneous matter. Counsel for

the parties that Applicant wished to obtain further evidence for use in the U.K. proceedings has

raised no objection to this filing.
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Dated: October 7, 2020.

                                         Respectfully submitted,

                                         BAKER DE KLUIVER PLLC

                                         ____________/S/_______________
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